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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Eric K. Yaeckel (274608)
 Sullivan Law Group, APC
 2330 3rd Ave.
 San Diego, CA 92101
 Phone 619-702-6760 Fax 619-702-6771
 Email: Yaeckel@sullivanlawgroupapc.com




     Individual appearing without attorney
     Attorney for: Arturo Vega and Unta Key

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 2:19-bk-14989
 Scoobeez, et al.                                                            CHAPTER: 11

                                                                                    NOTICE OF MOTION AND MOTION FOR
                                                                                    RELIEF FROM THE AUTOMATIC STAY
                                                                                           UNDER 11 U.S.C. § 362
                                                                                       (with supporting declarations)
                                                                                   (ACTION IN NONBANKRUPTCY FORUM)

                                                                             DATE: 07/16/2019
                                                                             TIME: 10:00 am
                                                                             COURTROOM: 1375
                                                              Debtor(s).

 Movant: Arturo Vega and Unta Key


1. Hearing Location:
      255 East Temple Street, Los Angeles, CA 90012                                       411 West Fourth Street, Santa Ana, CA 92701
      21041 Burbank Boulevard, Woodland Hills, CA 91367                                   1415 State Street, Santa Barbara, CA 93101
      3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 06/21/2019                                                              Sullivan Law Group, APC
                                                                                   Printed name of law firm (if applicable)

                                                                                   Eric K. Yaeckel
                                                                                   Printed name of individual Movant or attorney for Movant



                                                                                   /s/ Eric K. Yaeckel
                                                                                   _____________________________________________
                                                                                   Signature of individual Movant or attorney for Movant




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    MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO NONBANKRUPTCY ACTION


1. In the Nonbankruptcy Action, Movant is:
    a.         Plaintiff
    b.         Defendant
    c.         Other (specify):

2. The Nonbankruptcy Action: There is a pending lawsuit or administrative proceeding (Nonbankruptcy Action)
   involving the Debtor or the Debtor’s bankruptcy estate:

    a. Name of Nonbankruptcy Action: Vega, et. al. v. Scoobeez, et al.
    b. Docket number: Case No. 37-2017-00018285-CU-OE-CTL
    c. Nonbankruptcy forum where Nonbankruptcy Action is pending:
       San Diego County Superior Court
    d. Causes of action or claims for relief (Claims):
       Mutiple causes of action seeking penalties pursuant to Labor Code section 2698, et seq., the Private Attorney
       General Act of 2004.
3. Bankruptcy Case History:

    a.         A voluntary      An involuntary petition under chapter                       7        11     12       13
               was filed on (date) 04/30/2019 .

    b.         An order to convert this case to chapter                 7      11     12        13
               was entered on (date)                .

    c.         A plan was confirmed on (date)                            .

4. Grounds for Relief from Stay: Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay to
   proceed with the Nonbankruptcy Action to final judgment in the nonbankruptcy forum for the following reasons:

    a.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate.

    b.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that Movant will retain
               the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under 11 U.S.C. § 523
               or § 727 in this bankruptcy case.

    c.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    d.         The Claims are nondischargeable in nature and can be most expeditiously resolved in the nonbankruptcy
               forum.

    e.         The Claims arise under nonbankruptcy law and can be most expeditiously resolved in the nonbankruptcy
               forum.




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     f.        The bankruptcy case was filed in bad faith.

               (1)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                         commencement documents.
               (2)       The timing of the filing of the bankruptcy petition indicates that it was intended to delay or interfere
                         with the Nonbankruptcy Action.
               (3)       Multiple bankruptcy cases affect the Nonbankruptcy Action.

               (4)       The Debtor filed only a few case commencement documents. No schedules or statement of financial
                         affairs (or chapter 13 plan, if appropriate) has been filed.

     g.        Other (specify):



5. Grounds for Annulment of Stay. Movant took postpetition actions against the Debtor.

     a.        The actions were taken before Movant knew that the bankruptcy case had been filed, and Movant would have
               been entitled to relief from stay to proceed with these actions.

     b.        Although Movant knew the bankruptcy case was filed, Movant previously obtained relief from stay to proceed
               in the Nonbankruptcy Action in prior bankruptcy cases affecting the Nonbankruptcy Action as set forth in
               Exhibit.     .

     c.        Other (specify):



6. Evidence in Support of Motion: (Important Note: declaration(s) in support of the Motion MUST be signed
   under penalty of perjury and attached to this motion.)

     a.        The DECLARATION RE ACTION IN NONBANKRUPTCY FORUM on page 6.

     b.        Supplemental declaration(s).

     c.        The statements made by Debtor under penalty of perjury concerning Movant’s claims as set forth in Debtor’s
               case commencement documents. Authenticated copies of the relevant portions of the Debtor’s case
               commencement documents are attached as Exhibit.         .

     d.        Other evidence (specify):



7.        An optional Memorandum of Points and Authorities is attached to this Motion.

Movant requests the following relief:

1. Relief from the stay pursuant to 11 U.S.C. § 362(d)(1).

2.        Movant may proceed under applicable nonbankruptcy law to enforce its remedies to proceed to final judgment in
          the nonbankruptcy forum, provided that the stay remains in effect with respect to enforcement of any judgment
          against the Debtor or property of the Debtor’s bankruptcy estate.

3.        The stay is annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant in the
          Nonbankruptcy Action shall not constitute a violation of the stay.




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4.      The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified, or annulled as to the co-debtor,
        on the same terms and condition as to the Debtor.

5.      The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

6.      The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
        days, so that no further automatic stay shall arise in that case as to the Nonbankruptcy Action.

7.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without further
        notice

8.      Other relief requested.



Date: 06/21/2019                                                        Sullivan Law Group, APC
                                                                        Printed name of law firm (if applicable)

                                                                        Eric K. Yaeckel
                                                                        Printed name of individual Movant or attorney for Movant



                                                                         /s/ Eric K. Yaeckel
                                                                        ___________________________________________________
                                                                        Signature of individual Movant or attorney for Movant




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                             DECLARATION RE ACTION IN NONBANKRUPTCY FORUM
I, (name of Declarant) Eric K. Yaeckel                                                                                    , declare as follows:

1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding (Nonbankruptcy Action) because:

         I am the Movant.
         I am Movant’s attorney of record in the Nonbankruptcy Action.
         I am employed by Movant as (title and capacity):
         Other (specify):

2. I am one of the custodians of the books, records and files of Movant as to those books, records and files that pertain
   to the Nonbankruptcy Action. I have personally worked on books, records and files, and as to the following facts,
   I know them to be true of my own knowledge or I have gained knowledge of them from the business records of
   Movant on behalf of Movant, which were made at or about the time of the events recorded, and which are maintained
   in the ordinary course of Movant’s business at or near the time of the acts, conditions or events to which they relate.
   Any such document was prepared in the ordinary course of business of Movant by a person who had personal
   knowledge of the event being recorded and had or has a business duty to record accurately such event. The
   business records are available for inspection and copies can be submitted to the court if required.

3. In the Nonbankruptcy Action, Movant is:

         Plaintiff
         Defendant
         Other (specify):

4. The Nonbankruptcy Action is pending as:

    a. Name of Nonbankruptcy Action: Vega, et al. v. Scoobeez, et al.
    b. Docket number: Case No. 37-2017-00018285-CU-OE-CTL
    c. Nonbankruptcy court or agency where Nonbankruptcy Action is pending:
       San Diego Superior Court

5. Procedural Status of Nonbankruptcy Action:

    a. The Claims are:
       Mutiple causes of action seeking penalties pursuant to the Private Attorney General Act of 2004. A true
       and correct copy of the operative complaintis attached as Exhibit 1. A true and correct copy of Scoobeez
       Notice of Stay of that entire proceeding is attached as Exhbit 2. The Registrar of Actions in the Vega
       matter, which confirms the case was stayed as to all parties, is attached as Exhibit 3.

    b. True and correct copies of the documents filed in the Nonbankruptcy Action are attached as Exhibit 1-3                                    .

    c.   The Nonbankruptcy Action was filed on (date) 05/19/2017 .

    d. Trial or hearing began/is scheduled to begin on (date) 03/06/2020 .

    e. The trial or hearing is estimated to require 7-10 days (specify).

    f.   Other plaintiffs in the Nonbankruptcy Action are (specify):
         The two named Plaintiffs are Arturo Vega and Unta Key.




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    g. Other defendants in the Nonbankruptcy Action are (specify):
            Amazon Logistics, Inc.; Amazon.com Inc.; Avitus, Inc.; Shahan Ohanessian; Scoobeez Global, Inc.; Scoobeez;
            Scoobeez SD, LLC
. Grounds for relief from stay:

    a.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    b.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate,
               except that Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary
               complaint under 11 U.S.C. § 523 or § 727 in this bankruptcy case.
    c.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate. The insurance carrier and policy number
               are (specify):




    d.         The Nonbankruptcy Action can be tried more expeditiously in the nonbankruptcy forum.
               (1)         It is currently set for trial on (date) 03/06/2020 .
               (2)         It is in advanced stages of discovery and Movant believes that it will be set for trial by
                           (date)               . The basis for this belief is (specify):



               (3)         The Nonbankruptcy Action involves non-debtor parties and a single trial in the nonbankruptcy forum
                           is the most efficient use of judicial resources.

    e.         The bankruptcy case was filed in bad faith specifically to delay or interfere with the prosecution of the
               Nonbankruptcy Action.

               (1)         Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                           commencement documents.

               (2)         The timing of the filing of the bankruptcy petition indicates it was intended to delay or interfere with
                           the Nonbankruptcy Action based upon the following facts (specify):




               (3)         Multiple bankruptcy cases affecting the Property include:

                     (A) Case name:
                         Case number:                                     Chapter:
                         Date ILOed:     'ate GLVFKDUJHG:                         Date dismissed:
                         Relief from stay regarding this Nonbankruptcy Action                      was    was not granted.




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                    (B) Case name:
                        Case number:                                        Chapter:
                        Date ILOed: Date GLVFKDUJed:                       Date dismissed:
                        Relief from stay regarding this Nonbankruptcy Action                       was     was not granted.

                    (C) Case name:
                        Case number:                                        Chapter:
                        Date ILOHd: Date GLVFKDUJHd:                       Date dismissed:
                        Relief from stay regarding this Nonbankruptcy Action                       was     was not granted.
                         See attached continuation page for information about other bankruptcy cases affecting the
                         Nonbankruptcy Action.
                         See attached continuation page for additional facts establishing that this case was filed in bad faith.
     f.        See attached continuation page for other facts justifying relief from stay.

.        Actions taken in the Nonbankruptcy Action after the bankruptcy petition was filed are specified in the attached
          supplemental declaration(s).

     a.        These actions were taken before Movant knew the bankruptcy petition had been filed, and Movant would
               have been entitled to relief from stay to proceed with these actions.
     b.        Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
               with the Nonbankruptcy Action enforcement actions in prior bankruptcy cases affecting the Property as set
               forth in Exhibit ____
     c.        For other facts justifying annulment, see attached continuation page.


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  06/21/2019           Eric K. Yaeckel                                                   /s/ Eric K. Yaeckel
 Date                          Printed name                                                     Signature




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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Sullivan Law Group, APC, 2330 3rd Ave.; San Diego, CA 92101


A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (ACTION IN NONBANKRUPTCY
FORUM) will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 06/21/2019 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Alvin Mar alvin.mar@usdoj.gov
Ashley M McDow amcdow@foley.com; sgaeta@foley.com; Ffarivar@foley.com; swilson@foley.com
Rejoy Nalkara rejoy.nalkara@americaninfosource.com
Anthony J Napolitano anapolitano@buchlater.com; IFS_filing@buchalter.com; salarcon@buchlater.com
                                                                    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 06/21/2019 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Honorable Julia Brand                                                                    20 Largest Unsecured Creditors (see attached)
United States Bankruptcy Court - Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple St., Suite 1382
Los Angeles, CA 90012
                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  06/21/2019          Eric K. Yaeckel                                                    /s/ Eric K. Yaeckel
 Date                          Printed Name                                                     Signature




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                                   Case No. 2:19-bk-14989


                                        Service List



 Alissa Guler                                  AT&T Corp
 c/o Albert G. Stoll Jr.                       c/o CT Corporation
 55 Francisco Street, Ste. 403                 818 Seventh St., Ste. 930
 San Francisco, CA 94133                       Los Angeles, CA 90017
 Jassim M. Addal                               Avitus, Inc.
 c/o Law Office of Arash Alizadeh              c/o David M. Wagner
 7545 Irvine Center Dr., Ste. 200              Crowley Fleck PLLP
 Irvine, CA 92618                              P.O. Box 10969
                                               Bozeman, MT 59719
 Azad Baban                                    Bernado Parra
 c/o Justin Silverman                          c/o Mancini Law Group PC
 Reisner & King LLP                            7170 W. Grand Avenue
 14724 Ventura Blvd, Ste. 1210                 Elmwood Park, IL 60707
 Sherman Oaks, CA 91403
 LeClair Ryan                                  Maria Salgado
 44 Montgomery St., Ste. 3100                  c/o Nicolas K. Tsakas
 San Francisco, CA 90017                       4267 Marina City Dr., Ste. 512
                                               Marina del Rey, CA 90292
 Minas Sarafian                                Marwan Griffin
 c/o Simonian & Simonian, PLC                  c/o Aegis Law Firm PC
 144 N. Glendale Ave., #228                    9811 Irvine Center Dr., Ste. 100
 Glendale, CA 91206                            Irvine, CA 92618
 Mostafa Johairfard                            NexGen Capital, LLC
 1651 E. Edinger Ave., Ste. 100                c/o David Neale
 Santa Ana, CA 92705                           Levene Neale Bender
                                               10250 Constellation Blvd., Ste. 1700
                                               Los Angeles, CA 90067
 Roy Castelanos                                Edvin Amzayan
 c/o Employees’ Legal Advocates, LLP           c/o State of CA Dept. Of Industrial Relations
 811 Wilshire Blvd., Ste. 800                  Labor Commission Office
 Los Angeles, CA 90017                         455 Golden Gate Ave., 10th Floor
                                               San Francisco, CA 94102
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 Hillair Capital Mgmt LLC                     Enterprise Holdings, Inc.
 330 Primrose Rd., Ste. 660                   600 Corporate Park Dr.
 Burlingame, CA 94010                         St. Louis, MO 63105
 Jacob Lee DeGough                            Imran Firoz
 c/o Glenn Law Firm                           c/o Brent Finch
 1017 William D. Tate Ave., Ste. 100          Brent Finch Law
 Grapevine, TX 76051                          27200 Agoura Rd. Ste. 102
                                              Agoura Hills, CA 91301
